Case 2:20-cv-00983-TSZ Document 75-7 Filed 02/07/22 Page 1 of 6




   EXHIBIT 7
1/29/22, 2:59 PM                               All Washington
                           Case 2:20-cv-00983-TSZ     Documentcounties 75-7
                                                                       moving toFiled
                                                                                Phase 302/07/22
                                                                                        of reopening | Page
                                                                                                       king5.com
                                                                                                               2 of 6




  CORONAVIRUS




  All Washington counties moving to
  Phase 3 of reopening
  Coronavirus restrictions will be further relaxed March 22, allowing for
  50% occupancy in indoor spaces in Washington.

   KING 5 News at 6:30: Washington advancing to Phase 3 on March 22




                                                   


              00:00 / 00:00                                                                 




  Author: Allison Sundell
  Published: 2:26 PM PST March 11, 2021
  Updated: 6:14 PM PDT March 21, 2021




  OLYMPIA, Wash. — All counties in Washington will move to Phase 3 of the state’s “Healthy
  Washington” reopening plan on March 22.

  Under Phase 3, indoor spaces, like restaurants and movie theaters, can have 50% occupancy.
  Up to 400 people can attend indoor and outdoor activities, such as concerts and high school
  graduations, as long as physical distancing and masking is enforced. Outdoor events with
  permanent facilities can have 25% occupancy for spectators, which means the Mariners can
  have fans for Opening Day.




https://www.king5.com/article/news/health/coronavirus/jay-inslee-covid-19-reopening-washington/281-0b7fbbc3-97ab-4650-8e75-df83f31b53e9   1/5
1/29/22, 2:59 PM                              All Washington
                          Case 2:20-cv-00983-TSZ     Documentcounties 75-7
                                                                      moving toFiled
                                                                               Phase 302/07/22
                                                                                       of reopening | Page
                                                                                                      king5.com
                                                                                                              3 of 6
  Spectator capacity is also expanded for high school and youth sports. High school contact
  sports, like basketball, wrestling and cheerleading, can resume.

  RELATED: Limited number of fans allowed at Seattle Mariners Opening Day

   Inslee announces all Washington counties moving to Phase 3




                                                  


             00:00 / 00:00                                                                  


  RELATED: COVID-19 vaccine eligibility expanding by 2 million Washington residents on March
  31

  Currently, all counties are in Phase 2, which allows for 25% occupancy indoors at restaurants,
  retail shops and gyms.

  The state will also move away from a regional system in the reopening plan to a county-based
  system. Previously, counties were grouped into eight regions and moved forward or backward
  with their region. County progress will now be assessed individually.

  The state will evaluate counties every three weeks instead of two with the first assessment
  planned for April 12.

  RELATED: Washington expanding COVID-19 vaccine eligibility on March 17


                            Reopening Washington: Inslee announces all counties mo…




  Counties must meet two metrics – new cases per 100,000 people per 14 days and
  hospitalizations per 100,000 people per seven days – to remain in Phase 3. If a county fails one
  of those metrics, they will move backwards one phase. Additionally, if ICU occupancy is greater
  than 90%, the county will return to Phase 1.

  The exact metrics vary based on county size and which phase the county is in. For example, to
  remain in Phase 3, counties with more than 50,000 people must record fewer than 200 new
  cases per 100,000 people per 14 days and fewer than five new COVID-19 hospitalizations per
  100,000 people per week.
https://www.king5.com/article/news/health/coronavirus/jay-inslee-covid-19-reopening-washington/281-0b7fbbc3-97ab-4650-8e75-df83f31b53e9   2/5
1/29/22, 2:59 PM                                   All Washington
                               Case 2:20-cv-00983-TSZ     Documentcounties 75-7
                                                                           moving toFiled
                                                                                    Phase 302/07/22
                                                                                            of reopening | Page
                                                                                                           king5.com
                                                                                                                   4 of 6
  This threshold applies to most western Washington counties, with the exception of San Juan
  and Jefferson counties, which are smaller and have lower thresholds.

  The thresholds for Phases 1 and 2 are also lower due to the case and hospitalization rates
  required.




      Credit: Office of Gov. Jay Inslee

      These are the thresholds for counties to move ahead to following phases. Counties must meet both metrics over a
      three-week period to remain in Phase 3. Otherwise, counties will move back a phase.



  Previously regions had to meet three out of four metrics, which included COVID-19 test
  positivity rate in addition to case rate, hospital admission rate and ICU occupancy.




  Incarcerated people also no longer count towards a county’s case rate when counties are
  assessed for reopening.

  The change comes two weeks after Inslee paused the state’s reopening plan, saying no
  counties would move backward while health officials tracked COVID-19 trends.

  The state has ramped up COVID-19 vaccination efforts, surpassing its goal of 45,000 vaccines
  per day on average. As of March 8, 10% of Washingtonians are fully vaccinated, and 18% have
  gotten at least one shot, according to DOH data.

  At the same time, COVID-19 cases have plateaued since mid-February after declining from the
  most recent peak in January. Between Feb. 21-27, Washington recorded an average of 705 new
  COVID-19 cases per day, which is the state’s lowest case rate since October.

https://www.king5.com/article/news/health/coronavirus/jay-inslee-covid-19-reopening-washington/281-0b7fbbc3-97ab-4650-8e75-df83f31b53e9   3/5
1/29/22, 2:59 PM                               All Washington
                           Case 2:20-cv-00983-TSZ     Documentcounties 75-7
                                                                       moving toFiled
                                                                                Phase 302/07/22
                                                                                        of reopening | Page
                                                                                                       king5.com
                                                                                                               5 of 6

        Related Articles


          President Biden sets May 1 target to have all adults vaccine-eligible


          Why Seattle suddenly had hundreds of open COVID-19 vaccine appointments


          Suquamish Tribe opens vaccine clinic to North Kitsap School District teachers and staff




                                                                                  Sponsored Links by Taboola
          You May Like
        Traveling? Don't forget your COVID test!
        Covid Clinic




        The 5 Retirement Mistakes to Avoid At All
        Costs
        SmartAsset



        Amazon Has Millions of Prime Subscribers — But Few Know About This Savings Trick
        Capital One Shopping




        99% Of Homeowners Make This Mistake When Replacing Their Roof
        Advice For Homeowners




        Tommy Chong: Throw Away Your CBD Now
        Tommy Chong's CBD




                                                                   LOADING NEXT ARTICLE...




https://www.king5.com/article/news/health/coronavirus/jay-inslee-covid-19-reopening-washington/281-0b7fbbc3-97ab-4650-8e75-df83f31b53e9   4/5
1/29/22, 2:59 PM                           All Washington
                       Case 2:20-cv-00983-TSZ     Documentcounties 75-7
                                                                   moving toFiled
                                                                            Phase 302/07/22
                                                                                    of reopening | Page
                                                                                                   king5.com
                                                                                                           6 of 6




https://www.king5.com/article/news/health/coronavirus/jay-inslee-covid-19-reopening-washington/281-0b7fbbc3-97ab-4650-8e75-df83f31b53e9   5/5
